Case 2:20-cv-06718-MRW Document 48 Filed 01/10/22 Page 1 of 3 Page ID #:285




 1    CENTER FOR DISABILITY ACCESS
      Chris Carson, Esq., SBN 280048
 2
      Dennis Price, Esq., SBN 279082
 3    Amanda Seabock, SBN 289900
      8033 Linda Vista Road, Suite 200
 4    San Diego, CA 92111
      (858) 375-7385
 5
      (888) 422-5191 fax
 6    amandas@potterhandy.com
      Attorneys for Plaintiff
 7
      ERIC BJORGUM
 8    eric.bjorgum@kb-ip.com
 9    ARMAND ANDONIAN (SBN: 252608)
      armand.andonian@kb-ip.com
10    armamd.andonian@yahoo.com
      KARISH & BJORGUM PC
11    119 E. Union Street, Suite B
12    Pasadena, California 91103
      Telephone: (213) 785-8070
13    Facsimile: (818) 863-1536
      Attorneys for Defendant
14    15028 Magnolia, LLC
15
16
17                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
18
19    ORLANDO GARCIA,
                                               Case: 2:20-CV-06718-MRW
20            Plaintiff,
21                                             JOINT STIPULATION FOR
        v.
22                                             DISMISSAL PURSUANT TO
      15028 MAGNOLIA, LLC, a California        FEDERAL RULE OF CIVIL
23    Limited Liability Company; and Does 1-   PROCEDURE 41(a)(1)(A)(ii)
24    10,

25            Defendant.
26
27
28

                                           1

     Joint Stipulation for Dismissal                     Case No.: 2:20-CV-06718-MRW
Case 2:20-cv-06718-MRW Document 48 Filed 01/10/22 Page 2 of 3 Page ID #:286




 1
                                       STIPULATION
 2
 3
 4          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), IT IS
 5   STIPULATED by and between the parties hereto that this action may be dismissed
 6   with prejudice as to all parties; each party to bear his/her/its own attorneys’ fees
 7   and costs. This stipulation is made as the matter has been resolved to the
 8   satisfaction of all parties.
 9
10
11   Dated: 1/10/2022                  CENTER FOR DISABILITY ACCESS
12
                                       By: _____________________________
13                                            Amanda Seabock
14                                            Attorneys for Plaintiff

15
16   Dated: 1/10/2022                  KARISH & BJORGUM PC
17
                                           /S/ Eric Bjorgum
                                       By: ________________________________
18                                            Eric Bjorgum
19                                            Attorney for Defendant
                                              15028 Magnolia, LLC
20
21
22
23
24
25
26
27
28

                                              2

     Joint Stipulation for Dismissal                          Case No.: 2:20-CV-06718-MRW
Case 2:20-cv-06718-MRW Document 48 Filed 01/10/22 Page 3 of 3 Page ID #:287




 1
                              SIGNATURE CERTIFICATION
 2
 3
 4   I hereby certify that the content of this document is acceptable to Eric Bjorgum,
 5   counsel for 15028 Magnolia, LLC, and that I have obtained Eric Bjorgum
 6   authorization to affix his electronic signature to this document.
 7
 8   Dated:1/10/2022                     CENTER FOR DISABILITY ACCESS
 9
                                         By:
10                                              Amanda Seabock
11                                              Attorneys for Plaintiff

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               3

     Joint Stipulation for Dismissal                            Case No.: 2:20-CV-06718-MRW
